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14   Epic Games, Inc.
15
                               UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
17                                  OAKLAND DIVISION

18    EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
19                  Plaintiff, Counter-defendant,    PLAINTIFF EPIC GAMES, INC.’S
                                                     MOTION TO REMOVE INCORRECTLY
20                         v.                        FILED DOCUMENT AND [PROPOSED]
21                                                   ORDER
      APPLE INC.,
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                    Defendant, Counterclaimant.
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     EPIC’S MOTION AND [PROPOSED] ORDER                       CASE NO. 4:20-CV-05640-YGR-TSH
     TO REMOVE INCORRECTLY FILED DOCUMENT
       Case 4:20-cv-05640-YGR           Document 1214        Filed 02/13/25      Page 2 of 4




1                   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

2                   PLEASE TAKE NOTICE that Plaintiff Epic Games, Inc. (“Epic”) hereby

3    respectfully requests that an order be granted to remove the document e-filed on February 12,

4    2025 as ECF Docket No. 1200 (Objections to Special Master Determinations Issued February 6,

5    2025 Regarding Apple’s Re-Reviewed Documents) from the ECF Docket for this matter on the

6    grounds that it was inadvertently filed without redactions to certain material designated as

7    HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY by defendant Apple Inc. (“Apple”)

8    pursuant to the Stipulation Between Epic Games, Inc. and Apple Inc. and Amended Protective

9    Order (ECF Docket No. 274) in this matter.

10                  Epic moved to seal the confidential portions of ECF Docket No. 1200 as stated in

11   Epic’s Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed

12   Pursuant to Civil Local Rule 79-5 (ECF Docket No. 1212) and filed a sealed, unredacted version

13   of the document in connection with that motion (ECF Docket No. 1212-1). Epic promptly

14   notified the Court’s Civil Docketing & Docket Correction, as well as the ECF Help Desk, of this

15   filing error and filed a corrected version of the document at ECF Docket No. 1213.

16                  Epic respectfully moves this Court to remove the incorrectly filed document

17   permanently from the Court’s public docket and ECF.

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     EPIC’S MOTION AND [PROPOSED] ORDER                           CASE NO. 4:20-CV-05640-YGR-TSH
     TO REMOVE INCORRECTLY FILED DOCUMENT
      Case 4:20-cv-05640-YGR    Document 1214        Filed 02/13/25     Page 3 of 4




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2    Dated: February 13, 2025               Respectfully submitted,
3
                                            By:   /s/ Yonatan Even
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     EPIC’S MOTION AND [PROPOSED] ORDER      2           CASE NO. 4:20-CV-05640-YGR-TSH
     TO REMOVE INCORRECTLY FILED DOCUMENT
       Case 4:20-cv-05640-YGR          Document 1214      Filed 02/13/25    Page 4 of 4




1                                        [PROPOSED] ORDER

2                  The Court has now considered Plaintiff’s Motion to Remove Incorrectly Filed

3    Document, ECF Docket No. 1200 (the “Motion”). Having considered the moving papers before it

4    and finding good cause,

5                  The Court hereby grants the Motion and orders that ECF Docket No. 1200 be

6    removed from the docket for this matter.

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8    IT IS SO ORDERED.

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10   Dated: ___________________

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                                                       YVONNE GONZALEZ ROGERS
13                                                    UNITED STATES DISTRICT JUDGE
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     EPIC’S MOTION AND [PROPOSED] ORDER           3           CASE NO. 4:20-CV-05640-YGR-TSH
     TO REMOVE INCORRECTLY FILED DOCUMENT
